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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION


UNITED STATES OF AMERICA

v.                                            4:18CR76-RH

JOHN THOMAS BURNETTE.
_________________________________/

         RENEWED MOTION FOR JUDGMENT OF ACQUITTAL

      Defendant John Thomas Burnette, pursuant to Federal Rule of Criminal

Procedure 29(c), files his Renewed Motion for Judgment of Acquittal on Counts

Two, Five, Six, Eight, and Nine of the Second Superseding Indictment.

                                 INTRODUCTION

      Burnette renews his Motion for Judgment of Acquittal because there is

insufficient evidence to sustain a conviction on each element of every count. This

case stands before the Court in a far different light following the jury’s verdict. The

jury acquitted Burnette on the RICO conspiracy count (Count One), meaning that

Burnette cannot be liable on any counts on a theory of conspiracy liability. See Jury

Instructions, ECF 433, at 19-20. The jury also acquitted Burnette of participating in

a scheme to defraud the public of honest services resulting in the first two $10,000

checks sent by the FBI’s front operation (Counts Three and Four). That fact compels

acquittal on Counts Two, Five, Six, and Eight. The jury found that Burnette did not
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participate in the alleged scheme’s initiation, and no evidence proves beyond a

reasonable doubt that he subsequently joined an alleged scheme at a later date.

        For the reasons set forth herein, this Court should enter judgment of acquittal

on Count Two (Extortion Under Color of Official Right) because there is insufficient

evidence of complicity with Maddox, causation, and/or the official act element; on

Counts Five and Six (Honest Services Mail Fraud) because there is insufficient

evidence of Burnette’s involvement in a scheme to defraud or intent to defraud or of

the official act that was the supposed purpose of such scheme; and on Count Eight

(Travel Act) because there is insufficient evidence of bribery, in part because the

specific phone call that is the basis of that count does not contemplate any official

act.

        In addition, the evidence does not support Burnette’s false-statements

conviction (Count Nine) because the questions posed to Burnette were

fundamentally ambiguous, his answers were not false, and the questions and answers

did not concern a material matter.

                                LEGAL STANDARD

        The question on a motion for judgment of acquittal is whether a “rational trier

of fact could have found the essential elements of the crime beyond a reasonable

doubt.” Jackson v. Virginia, 443 U.S. 307, 319 (1979). In ruling on such a motion,

the Court must view the evidence in the light most favorable to the Government. See


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United States v. Sellers, 871 F.2d 1019, 1021 (11th Cir. 1989) (citing Glasser v.

United States, 315 U.S. 60, 80 (1942), superseded by rule on other grounds,

Bourjaily v. United States, 483 U.S. 171 (1987)). The Court must resolve any

conflicts in the evidence in favor of the Government. See United States v. Taylor,

972 F.2d 1247, 1250 (11th Cir. 1992). The Court must also accept all reasonable

inferences that tend to support the Government’s case. See United States v. Burns,

597 F.2d 939, 941 (5th Cir. 1979). The Court must accept all of the jury’s

“reasonable inferences and credibility determinations.” Sellers, 871 F.2d at 1021

(citing United States v. Sanchez, 722 F.2d 1501, 1505 (11th Cir. 1984)).

                              LEGAL ARGUMENT

      The evidence is insufficient on every element of every count. In particular,

Burnette highlights the following deficiencies.

I.    Count Two (Extortion Under Color Of Official Right)

      To sustain a conviction against Burnette for Extortion Under Color of Official

Right, the Government must “show that a public official has obtained a payment to

which he was not entitled, knowing that the payment was made in return for official

acts.” Evans v. United States, 504 U.S. 255, 268 (1992). Importantly, “[a] private

citizen can neither extort money ‘under color of official right’ nor can he or she

extort money by actual or threatened fear of economic loss unless there is complicity

of a public official.” United States v. Bryant, 697 F. Supp. 457, 467 (M.D. Fla. 1988)

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(emphasis added). This rule makes sense: as the Court instructed the jury, extortion

requires “a public officer’s receipt of money or anything else of value in exchange

of an official act.” ECF 433, at 8. As a private citizen, Burnette can be liable for

extortion (or attempted extortion) only if he aided and abetted Maddox—i.e.,

“willfully join[ed] together” with [Maddox] in the commission of a crime.” Id. at

19; see also, e.g., Ocasio v. United States, 136 S. Ct. 1423, 1432-33 (2016)

(explaining that private individuals are incapable of obtaining property under color

of official right but may be liable for conspiring to help a public official do so).1

Because the Government’s evidence does not demonstrate the required knowledge

and complicity of Maddox or Burnette, Burnette should be acquitted on Count Two.

       Maddox and Janice Paige Carter-Smith (“Carter-Smith”) – both of whom

were cooperating Government witnesses – rejected any possibility that they were

involved or complicit in any extortion plan.                  Specifically, Maddox denied

participating in any plans of extortion during cross-examination:

               Q. Before we end up on the whole Southern Pines
               transactions, were you individually a part of any plan to
               extort any money throughout any of that?
               A. Throughout all what?
               Q. Throughout the dealings with the Southern Pines folks
               that we talked about this morning. Were you part of any
               plan to extort anybody?
               A. No.


1
 As noted above, the jury’s acquittal on Count One forecloses conspiracy liability on the remaining
counts under the instructions given to the jury. See p. 1, supra.


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Trial Tr. vol. 10, 2014:7-14, July 26, 2021 (emphasis added). Without Maddox’s

involvement, there is no extortion in which Burnette could have participated.

Maddox further explained that he believed the checks related to Southern Pines

Development were for legitimate lobbying in Leon County (where Maddox is not a

public official). Trial Tr. vol. 10, 1986:1-13, July 26, 2021. Without Maddox’s

knowledge that the checks from Southern Pines Development to Governance were

in exchange for his official acts, there is insufficient evidence to support Count 2.

      Carter-Smith’s testimony further requires acquittal. Carter-Smith testified

that she was never knowingly part of any unlawful activity. Trial Tr. vol. 6, 1018:11-

1019:14, July 20, 2021. Throughout the entire time that Carter-Smith received

checks from Southern Pines Development, it was also her understanding that she

was being paid to lobby in Leon County on behalf of Southern Pines Development

for Fallschase. Trial Tr. vol. 4, 938:23-940:6, 949:10-21, July 15, 2021. Maddox

and Carter-Smith did not plead guilty to any racketeering conspiracy with Burnette

(Gov. Exs. 298 and 293), and the jury acquitted Burnette of being involved in a

racketeering conspiracy with Maddox and Carter-Smith.               ECF 442.       The

Government’s lack of evidence of complicity between Burnette, Maddox, and

Carter-Smith was manifest in these outcomes.

      Burnette thus did not aid and abet Extortion Under Color of Official Right.

Under the aiding and abetting statute, a jury can find “a person guilty of a substantive



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crime even though that person did not commit all acts constituting elements of the

crime.” United States v. Broadwell, 870 F.2d 594, 608 (11th Cir. 1989). But to

establish aiding and abetting, “the government must prove that the defendant in some

way associated himself with the criminal venture, that he wished to bring it about,

and that he sought by his actions to make it succeed.” Id.; see also Jury Instructions,

ECF 433, at 19 (defendant must “willfully associate in some way with the crime and

willfully participate in it”). As the Court instructed the jury, “[m]ere presence at the

scene of a crime and even knowledge that a crime is being committed are not

sufficient to establish that a defendant either directed or aided and abetted the crime.”

Jury Instructions, ECF 433, at 19. As the evidence shows that Burnette did not have

any official right and that Maddox was not complicit with Burnette, Burnette cannot

have aided and abetted Extortion Under Color of Official Right.

      The jury’s acquittal on Counts Three and Four further forecloses aiding and

abetting liability. As charged in the indictment, the Government alleged that

Maddox, Burnette, and the FBI agents agreed in fall 2016 that the FBI front company

would pay Maddox $10,000 per month in exchange for official acts. Second

Superseding Indictment, ECF 145, at ¶¶ 43-49.            The Government labored to

convince the jury in closing argument that Burnette knew about the payments made

in November and December 2016, Trial Tr. vol. 15, 3100-3101, Aug. 11, 2021,

because Burnette’s participation in and knowledge of those first monthly payments



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is central to the Government’s claim that he aided and abetted Maddox’s alleged

extortion scheme (and/or participated in a scheme to defraud). The jury’s acquittal

on Counts Three and Four demonstrates that it rejected this core component of the

Government’s case.

      The Government’s extortion case collapses in light of the acquittals on Counts

Three and Four. For the reasons just explained, the extortion count cannot rest on

the Government’s allegation that Burnette aided and abetted a supposed agreement

in fall 2016 that resulted in the first two payments. And, critically, no evidence

proves beyond a reasonable doubt that Burnette and Maddox joined together

between the date of the second check (December 18, 2016) and the third check

(January 23, 2017). The only relevant event between those two dates is the Dallas

meeting on January 9, 2017, when FBI agents told Burnette that they had already

started making the payments and Burnette warned them that stopping payments

could have negative consequences.

      As the Court instructed the jury, “knowledge that a crime is being committed”

does not give rise to aiding-and-abetting liability. Jury Instructions, ECF 433, at 19.

So too, Burnette’s failure to stop an alleged extortion scheme that the Government

alleges had already commenced—an alleged scheme that the jury verdict establishes

commenced without Burnette’s willing participation—does not create aiding-and-

abetting liability because it does not establish that Burnette willfully joined with



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Maddox in a scheme between December 18, 2016 and January 23, 2017. Given that

the jury found that Burnette was not involved in the initiation of the scheme, his

statements warning the FBI agents that stopping payment would have negative

consequences are insufficient to show that he later willfully joined with

Maddox. The Government adduced no evidence of any later cooperation,

coordination, or collusion between the two. Similarly, the evidence does not

establish that Burnette “caused Southern Pines Development LLC to pay money

directly or indirectly to Mr. Maddox,” or aided or abetted any such payment. ECF

433, at 13 (emphasis added). The jury’s verdict establishes that the supposed

agreement to make monthly payments arose in fall 2016 without Burnette’s

complicity.

      In addition, the evidence did not show that any payment was tied to a promise

to perform an “official act,” McDonnell v. United States, 136 S. Ct. 2355, 2367-72

(2016), as is required to prove extortion under color of official right. See Jury

Instructions, ECF 433, at 8-9. To meet the official act requirement, the Government

must both identify a “question, matter, cause, suit, proceeding or controversy that

may at any time be pending or may by law be brought before a public official,” and

“prove that the public official made a decision or took an action ‘on’ that question,

matter, cause, suit, proceeding, or controversy, or agreed to do so.” McDonnell, 136

S. Ct. at 2368 (quoting 18 U.S.C. § 201(a)(3)) (cleaned up). “The agreement need



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not be explicit, and the public official need not specify the means that he will use to

perform his end of the bargain.” Id. at 2371. But the Government must identify a

“specific and focused” matter on which the official agreed to act, id. at 2372, as well

as an agreement “to perform specific official acts,” Evans, 504 U.S. at 268.

       Here, the evidence does not prove either a specific and focused matter or

specific official acts. The evidence showed that Southern Pines paid Maddox not

for any official act on any specific project, but at most for some unidentified future

act on an unidentified future project. See, e.g., Gov. Ex. 40, at 3 (Transcript of Oct.

24, 2016 phone call) (Miller stated payments were for “something” in the future, and

Burnette acknowledged Southern Pines did “not know exactly what you’re doing”).2

As a result, the extortion count fails for lack of an official act.

II.    Counts Five And Six (Honest Services Mail Fraud)

       For Counts Five and Six, there is insufficient evidence that Burnette engaged

in a scheme to defraud, much less with the specific intent to defraud required for

conviction. To convict Burnette for Honest Services Mail Fraud, the Government

“‘must show that the accused intentionally participated in a scheme or artifice to



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  Burnette submits that acquittal is also required on this count because the evidence does not prove
that the public official, Maddox, induced the payments in question. This argument is, admittedly,
foreclosed under current precedent. See Evans, 504 U.S. at 256. Burnette submits that the
Supreme Court’s decision in Evans, which merges extortion under color of official right with
bribery, was erroneous. See Silver v. United States, 141 S. Ct. 656, 656 (2021) (Mem.) (Gorsuch,
J., dissenting from denial of certiorari) (calling for the Court to revisit Evans). Burnette raises this
argument for purposes of preserving it for further appeal.


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deprive the persons or entity to which the defendant owed a fiduciary duty of the

intangible right of honest services, and used the United States mails to carry out that

scheme or artifice.’” United States v. McNair, 605 F.3d 1152, 1200 (11th Cir. 2010)

(citing United States v. Browne, 505 F.3d 1229, 1265 (11th Cir. 2007)). As is the

case with Extortion Under Color of Official Right, “private citizens, acting in

conjunction with a public official, may be adjudged guilty of violating section 1346

if the official colluded with the citizen to use his public office to serve the citizen's

interests at the public's expense.” United States v. Woodard, 459 F.3d 1078, 1087

(11th Cir. 2006) (emphasis added). There is no such conjunction or collusion here

for the reasons just discussed.

      At trial, Carter-Smith and Maddox denied being part of a fraudulent scheme

related to the checks in these counts. Trial Tr. vol. 4, 928:20-22, July 15, 2021; Trial

Tr. vol. 10, 1986:1-1987:12, July 26, 2021. To the contrary, Carter-Smith and

Maddox believed that Governance was retained for legitimate lobbying in Leon

County, as opposed to the City, for Fallschase, and not to influence Maddox. Trial

Tr. vol. 6, 1105:8-10, July 20, 2021; Trial Tr. vol. 10, 1986:1-1987:12, 1996:11-16,

July 26, 2021. The Government did not provide any evidence that Burnette acted in

conjunction with Maddox. There is not a single recording of a conversation between

Burnette and Maddox that shows that they colluded in any bribery scheme and

Maddox confirmed that no such conversation took place:



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              Q. And they had you listen to a series of phone calls that
              Mr. Burnette had with these guys from Southern Pines,
              Mr. Miller and Mr. Sweets, right?
              A. Yes, sir.
              Q. And in some of those calls, Mr. Burnette said that you
              were going to be there for them, that you wanted to get
              paid, that you were going to be the political solution, that
              you were essentially open to being on the payroll. Do you
              remember those tapes?
              A. Yes, sir.
              Q. And you told the government -- and correct me if I'm
              wrong -- you told the government that you were shocked
              when you heard those tape recordings, weren't you?
              A. Yes, sir.
              Q. And you said to them you were shocked by what Mr.
              Burnette was telling them, right?
              A. Correct.
              Q. Because you had never had any conversation with
              Mr. Burnette about anything involving Southern Pines
              where you said anything that you did was for sale, did
              you?
              A. No.

Trial Tr. vol. 10, 1961:20-1962:15, July 26, 2021 (emphasis added); see also id. at

1963:16-20.     To the contrary, Carter-Smith testified at trial that it was her

understanding throughout the time that the four $10,000 checks were received by

Carter-Smith (two of which the jury returned a verdict of not guilty) that Southern

Pines Development was not paying for any influence from Maddox. Carter-Smith

explained her understanding of the $40,000 payment and what transpired at her last

meeting with Southern Pines Development on March 27, 2017 – less than two

months before the end of the investigation:




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            Q. And what he wanted to directed [sic] towards is, hey, I
            want to know what influence I'm going to get, criminal
            influence, I'm going to get for my $40,000; isn't that right?
            A. Correct.
            Q. And you and Mr. Maddox said, you're paying
            $40,000, you aren't paying for anything; isn't that
            right?
            A. Correct.
            Q. And I think you got a little upset with some of the
            comments that Mr. Sweets made, didn't you?
            A. I did.
            Q. What did you get upset about?
            A. Well, basically -- and I don't remember all of the
            details, but -- basically, he was cutting me off, wouldn't let
            me finish, and I was trying to explain to him what a
            lobbyist does, and he was very dismissive; that he kept
            saying, people buy influence in Tallahassee, you're, you
            know, it's very difficult to do business here, people buy
            influence. I said, no, that's why you hire a lobbyist, a
            lobbyist can help you work through the process. So it was
            that type of conversation. And he wanted to know what he
            was getting for his money, and that he wanted guarantees
            for his $40,000.
            Q. And you nor Mr. Maddox gave him any guarantees?
            A. Neither of us gave him any guarantees.
            Q. Suffice it to say that your conversation here, you think
            you are going there to talk about what you're going to do
            on Fallschase, a project in the county?
            A. Well, I invited myself to talk about that, yes.
            Q. You invited yourself to talk about --
            A. They did not invite me.
            Q. My apologies. But you invited yourself to go to this
            meeting to talk about what you were going to do in
            Fallschase, which is in the county?
            A. Yes.

Trial Tr. vol. 4, 938:23-940:6, July 15, 2021 (emphasis added). Carter-Smith’s

belief that the $40,000 payment was for legitimate lobbying for Fallschase in Leon



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County is well documented throughout the evidence admitted at trial. See Gov. Exs.

174 and 177.        Carter-Smith sent a lobbying agreement to Southern Pines

Development stating that she was to be retained to lobby Leon County. She then put

forth substantial effort to follow up with Southern Pines Development to arrange a

time to meet when she received no direction from her client. Without any evidence

of collusion from Maddox and solely with evidence to the contrary, there is

insufficient evidence to sustain a conviction on Counts Five and Six for Honest

Services Mail Fraud or for aiding and abetting.

        Additionally, as discussed above, the jury’s acquittal on Counts Three and

Four forecloses any finding beyond a reasonable doubt that Burnette participated in

a scheme to defraud that resulted in the mailing of the third and fourth checks. The

jury verdict establishes that if any scheme to defraud existed, Burnette did not

participate in its initiation. And, again, no evidence proves that he joined any such

scheme between December 18, 2016 and January 23, 2017. See pp. 7-8, supra.

        In addition, for the reasons stated in the discussion of the extortion count, the

evidence does not prove beyond a reasonable doubt the official act element.

III.    Count Eight (Travel Act)

        Judgment of Acquittal should be entered on Count Eight because, for all the

reasons already explained, there was insufficient evidence at trial that Burnette,

Carter-Smith, or Maddox ever agreed to a bribe or any other unlawful activity or that



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Burnette used his phone on October 24, 2016 with the specific intent to facilitate

bribery. A Travel Act violation requires showing that the defendant traveled or used

a facility in interstate commerce “with intent to . . . promote, manage, establish, carry

on, or facilitate the [same], of any unlawful activity, and thereafter performs or

attempts to perform” an act such as extortion or bribery. 18 U.S.C. § 1952(a)(3).

      Without a bribe, there can be no facilitation of a bribe. There is no evidence

that Burnette agreed to or facilitated a payment in exchange for Maddox’s agreement

to perform an official act. Maddox testified that he never had a conversation with

Burnette involving Southern Pines where he said anything that he did was for sale

or about wanting to get paid through Governance. Trial Tr. vol. 10, 1962:12-15,

1963:16-20, July 26, 2021. When Maddox listened to the recordings and calls

between Burnette and the undercover agents, including this October 24, 2016 call,

he was “shocked” and “upset” that Burnette was “selling falsehoods” and was “full

of shit.” Trial Tr. vol. 10, 1962:5-15, 1962:18-1963:2, 1964:2-1965:1, July 26,

2021. Importantly, Maddox testified to the following:

             Q. And you said to them you were shocked by what Mr.
             Burnette was telling them, right?
             A. Correct.
             Q. Because you had never had any conversation with Mr.
             Burnette about anything involving Southern Pines where
             you said anything that you did was for sale, did you?
             A. No.




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Trial Tr. vol. 10, 1962:9-15, July 26, 2021. Without any bribe to facilitate, Burnette

cannot be convicted on Count Eight for violating the Travel Act or aiding and

abetting same.

         Critically, for Burnette to have had the “specific intent to facilitate bribery”

during the phone call, Jury Instructions, ECF 443, at 16, he must have intended to

pay something of value “in exchange for the officer’s performance of, or agreement

to perform, an official act.” Id. at 7 (emphasis added). But Burnette did not identify,

or even imply, an official act in the October 24, 2016 phone call. As explained

above, bribery for an official act requires identification of a specific matter that is or

may by law come before the official, and a specific action that the official agrees to

take. Supra pp. 8-9. Burnette did not identify a specific matter or act in the phone

call. Nor did he identify the possible of a future vote “on any not-yet-known matter

that might later come up for a vote,” in the words of the Jury Instructions. ECF 443,

at 8.

         In the call, Burnette asked whether Southern Pines is “fairly certain you’re

going to do a deal in Tallahassee,” Miller responded “we’re gonna get something,”

and Burnette responded, “I just hate to see you guys spend money and not know

exactly what you’re doing.” Gov. Ex. 40, at 3. Similarly, Burnette referred vaguely

to Maddox “be[ing] there when he’s needed,” without any suggestion of an official

act. This ambiguity is the antithesis of an official act. Because there was no specific



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matter or specific official action contemplated, there could be no bribery and

therefore no facilitation of bribery.

V.    Count Nine (False Statements)

      Judgment of acquittal should be entered on Count Nine because (1) one or

more of the questions posed to Burnette were fundamentally ambiguous and (2) there

is insufficient evidence of falsity, intent to deceive, and materiality.

      Fundamental ambiguity. The law is settled that answers to questions that are

fundamentally ambiguous are insufficient as a matter of law to support a false

statement conviction. See United States v. Manapat, 928 F.2d 1097, 1099 (11th Cir.

1991). A question is fundamentally ambiguous as a matter of law when it lacks a

“meaning about which men of ordinary intellect could agree.” Manapat, 928 F.2d

at 1100 (quoting United States v. Lattimore, 127 F.Supp. 405, 410 (D.D.C. 1955),

aff’d by an equally divided court, 232 F.2d 334 (D.C. Cir. 1955)). It is improper

      to indict and prosecute an individual for perjury when the questions forming
      the basis of the charge are so vaguely and inarticulately phrased by the
      interrogator as to require the jury to probe the inner workings of the accused’s
      mind to seek to ascertain which of several plausible meanings he attributed to
      the ambiguous inquiries when he gave the allegedly perjurious responses.

Id. at 1099; see id. at 1101 (“When the question that led to the allegedly false

response is fundamentally ambiguous, we cannot allow juries to criminally convict

a defendant based on their guess as to what the defendant was thinking at the time

the response was made.”). Because “[p]recise questioning is imperative as a



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predicate for the offense of perjury,” “[t]he burden is on the questioner to pin the

witness down to the specific object of the questioner’s inquiry.” Bronston v. United

States, 409 U.S. 352, 360, 362 (1973).

      Courts have identified a variety of factors that demonstrate fundamental

ambiguity, including: “(1) the inherent vagueness—or, conversely, the inherent

clarity—of certain words and phrases, (2) the compound character of a question, (3)

the existence of defects in syntax or grammar in a question, (4) the context of the

question and answer, and (5) the defendant's own responses to allegedly ambiguous

questions.” United States v. Strohm, 671 F.3d 1173, 1179 (10th Cir. 2011). When

a question is fundamentally ambiguous, a “jury should not be permitted to engage in

conjecture whether an unresponsive answer, true and complete on its face, was

intended to mislead or divert the examiner.” Id. at 1185 (citing Bronston, 409 U.S.

at 359).

      This Court acknowledged these principles when it previously denied co-

defendant Carter-Smith’s Motion to Dismiss and stated:

            If, when the evidence is presented at trial, it turns out that
            the statement at issue was made in response to a
            fundamentally ambiguous question or that, in context, the
            statement was true, Ms. Carter-Smith will prevail, either
            by judgment of acquittal or not-guilty verdict.

ECF 105, at 2.




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      When a question that forms the basis of a false-statements count is

fundamentally ambiguous, a court commits legal error in giving the issue to the jury

to decide. See, e.g., United States v. Schulte, 741 F.3d 1141, 1149 (10th Cir. 2014)

(“Whether the question itself is unable to legally support a perjury or false statement

conviction depends on whether it contains a ‘fundamental ambiguity.’”); see also

Manapat, 928 F.2d at 1109 (“[W]hen a line of questioning is so vague as to be

fundamentally ambiguous, the answers associated with the questions posed may be

insufficient as a matter of law to support [a] perjury conviction.” (emphasis added)

(internal quotation marks omitted) (second alteration in original)). And, when a jury

convicts a defendant of false statements, and at least one of the at-issue questions is

fundamentally ambiguous, the conviction cannot stand. See Schulte, 741 F.3d at

1149 (citing Griffin v. United States, 502 U.S. 46, 56-57 (1991)). In that situation,

the jury was improperly presented with “a legally inadequate theory” of guilt, and

because the court cannot know which theory the jury chose, acquittal is required. Id.

(quoting Griffin, 502 U.S. at 59).

      Materiality. Moreover, a false statement must be material in order to support

a conviction under 18 U.S.C. § 1001. The materiality requirement “exclude[s]

‘trivial’ falsehoods from the purview of the statute.” United States v. Beer, 518 F.2d

168, 170-71 (5th Cir. 1975).




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      The At-Issue Statements.       The Government alleged five distinct false

statements in support of Count Nine. As just discussed, if even one of the five at-

issue questions was fundamentally ambiguous—and all of them were—the Court

must enter acquittal. Alternatively, because the Government failed to prove the

elements of falsity, intent to deceive, and materiality for all of them, acquittal is

required.

      A. Burnette Did Not Know To Whom Southern Pines Development Wrote
         Checks

      Judgment of acquittal should be granted based on the first alleged false

statement. The relevant colloquy with the FBI agent was as follows:

             SA DOYLE: He's paying off officials to try to get -- I don't
             know what the hell it is, zoning or, or -- I don't know what
             he -- you know, for some official acts. Did he interact with
             any local officials here in town?
             BURNETTE: So I never had – so all he would do is he
             hired lobbyists. … So they work with lobbyists in
             Tallahassee –
             SA DOYLE: Who did he – did he – oh, he did? Who
             did he hire?
             BURNETTE: I – let me say this. I don’t know who they
             ever wrote a check to.

Gov. Ex. 86, at 7-8 (emphasis on exchange at issue).

      First, the question is fundamentally ambiguous. Both the words “who” and

“hired” are ambiguous. “Who” could refer either to a person or a corporate entity—

for example, Carter-Smith or Governance. “Hire” could refer to a formal contractual

relationship, to an informal arrangement, or to a specific payee. The answer to this

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question could vary depending on its meaning, and is therefore impermissibly

ambiguous and vague.       Moreover, Burnette’s response, which conveyed his

understanding that the question was asking what entity was formally paid, further

demonstrates the question’s ambiguity. See Strohm, 671 F.3d at 1179.

      Second, Burnette truthfully answered the question by stating that he did not

know to whom the checks were written. There is no allegation, let alone evidence,

that Burnette had ever seen any of the checks, and the checks were written to two

different entities: Governance, Inc. and Governance Services, LLC. See Gov. Exs.

172 and 179. Moreover, Miller and Sweets informed Burnette that checks had been

sent to Maddox, yet shortly thereafter, Maddox confirmed to Burnette that he was

not receiving checks personally from Southern Pines Development. Gov. Ex. 63, at

9 and Trial Tr. vol. 13, 2648:19-2649:6, August 9, 2021. Burnette therefore

answered this ambiguous question truthfully.

      Third, even if the question was not fundamentally ambiguous, Burnette’s

statement was at most “an unresponsive answer” that was nevertheless literally true.

Bronston, 409 U.S. at 359. In these circumstances, if the agent thought Burnette was

being evasive, it was his “responsibility to recognize the evasion and bring the

witness back to the mark, to flush out the whole truth.” Id. at 362. “[P]roblems

arising from the literally true but unresponsive answer are to be remedied through




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the questioner’s acuity and not by a federal [false statements] prosecution.” Id.

(cleaned up). The agent failed to clarify what he was asking.

      Fourth, even if it was false, the statement was not material. The Supreme

Court has held that a statement is materially false “if it has a natural tendency to

influence, or was capable of influencing, the decision of the decisionmaking body to

which it was addressed.” Kungys v. United States, 485 U.S. 759, 770 (1988).

“Trivial” misstatements are not actionable. Beer, 518 F.2d at 170-71. Burnette

informed the agents that he recommended that Southern Pines Development hire

Carter-Smith—that was the material information he had. Given that he shared that

information, his statement that he did not know to whom the checks were actually

written, even if it was false, was not a material misstatement.

         B. Burnette Did Not Know the Name of Carter-Smith’s Firm

      Judgment of acquittal should be granted based on the second alleged false

statement. The relevant colloquy with the FBI agent was as follows:

             SA DOYLE: Okay. Who did you recommend?
             BURNETTE: I recommended, uh, Paige Carter-Smith –
             and – that was it.
             SA DOYLE: Okay. Who, is she with a firm or with …
             Is she on her own?
             BURNETTE: She … used to be with – I don’t even
             know the name of the firm.

Gov. Ex. 86, at 8 (emphasis on exchange at issue).




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      First, a person of ordinary intellect would be unsure whether the agent was

asking for (1) the legal entity with which Carter-Smith was associated or (2) whether

Carter-Smith ran her own firm or was part of a larger firm. The fundamental

ambiguity of this question is heightened by the compound, disjointed nature of the

question, which asks both “who” the firm is with which Carter-Smith is associated,

and also whether she is “on her own.” Such an imprecise question cannot give rise

to a false statement conviction.

      Second, Burnette truthfully answered the question. Burnette’s response, “I

don’t know even know the name of the firm,” truthfully conveyed that she was with

a firm, which truthfully answered one aspect of the ambiguous, compound question.

      Third, even if false, Burnette’s statement was at most an unresponsive answer

to the question. If the agent’s question is interpreted as asking the name of the firm

with which Carter-Smith was currently affiliated, Burnette responded in the past

tense that she “used to be with” a firm whose name he could not remember. That is

both true, because Carter-Smith was associated with numerous firms over time.

Trial Tr. vol. 4, 798:18-23, 805:21-806:6, July 15, 2021. And it is non-responsive,

because the agent asked about her then-current affiliation.       If the question is

interpreted as asking whether Carter-Smith was a solo practitioner or practiced as

part of a larger lobbying group, Burnette did not answer that question at all. The

agent failed to follow up on either point.



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      Fourth, there was nothing materially misleading about his statement that he

didn’t know the name of the firm. Carter-Smith is associated with numerous “firms”

including Governance, Inc., Governance Services, LLC, and The Big Production.

Trial Tr. vol. 4, 798:18-23, 805:21-806:6, July 15, 2021. Burnette provided the

material information: the name “Paige Carter-Smith” and the fact that she was with

a firm. Gov. Ex. 86, at 8.

      C.     Burnette Did Not Know Who Southern Pines Development Had
             Retained

      Judgment of acquittal should be granted based on the third alleged false

statement. The relevant colloquy with the FBI agent was as follows:

             BURNETTE: Um, but, like, I mean, I hate to say it. Like,
             they didn't know, like, who the right -- I mean -- like, they
             hired, like, Adam Corey, okay?
             SA HURLEY: They did hire Adam Corey?
             SA DOYLE: Oh, he’s been in the paper with um – excuse
             me – with um –
             BURNETTE: With the Edison.
             SA DOYLE: That restaurant, yeah.
             BURNETTE: So, you know, Adam is a lobbyist. I don’t
             – I mean, he’s not like the best lobbyist in the world.
             (Laughter)
             BURNETTE: Um, so I mean, they just – they didn’t really
             seem to know what they were doing.
             SA DOYLE: Okay. Do you know did they retain
             anybody?
             BURNETTE: I do not know who they retained.

Gov. Ex. 86, at 8-9 (emphasis on exchange at issue).




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      First, the question is fundamentally ambiguous. In context, Burnette could

have easily thought that the agent was asking whether Southern Pines Development

had retained Adam Corey or someone at his firm, rather than an unaffiliated lobbyist

such as Carter-Smith. Moreover, what it means to “retain” somebody in this context

is ambiguous. A reasonable listener could have thought “retaining somebody”

referred to executing a retainer agreement. Indeed, Burnette appeared to distinguish

between “hiring” Adam Corey, which he had knowledge of, and “retaining”

somebody, which he did not. Alternatively, “retaining somebody” could refer

informally to any form of client relationship. The question is ambiguous.

      Furthermore, as discussed above, Carter-Smith owned multiple companies,

Southern Pines Development sent checks to multiple companies, Gov. Exs. 172 and

179, and there was no allegation or evidence at trial that Burnette was aware of the

consulting agreement between Governance Services, LLC and Southern Pines

Development. Gov. Ex. 177. Importantly, Miller testified that he never had any

conversations with Carter-Smith about the agreement, he never negotiated the

agreement, and he never signed and returned the agreement. Trial. Tr. vol. 7,

1262:8-1263:2, July 21, 2021. Miller therefore never formally retained Carter-Smith

or her firm.




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      Burnette also provided the material information to the agent when he stated

that Southern Pines had “hired” Adam Corey and that Burnette had recommended

Carter-Smith. Gov. Ex. 86, at 8.

      D.    Burnette Did Not Know The Content Of Conversations That Southern
            Pines Development Had With Maddox

      Judgment of acquittal should be granted based on the fourth alleged false

statement. The relevant colloquy with the FBI agent was as follows:

            SA HURLEY: Sorry. Corey introduced them to Maddox
            and you did as well?
            BURNETTE: I was told that Maddox, they – that they
            were introduced to Maddox.
            SA HURLEY: Okay.
            SA DOYLE: Do you know the content of their
            conversa—what did they want from Maddox or what
            did –
            Burnette: I don’t know the answer to that.

Gov. Ex. 86, at 9 (emphasis on exchange at issue).

      First, the question is fundamentally ambiguous. It is thrice compound: The

agent appears to ask (1) whether Burnette knows the content of the conversations

between Maddox and the undercover agents, (2) whether Burnette knows what the

undercover agents wanted from Maddox, and (3) a third question that he only half

asked. Each question is ambiguous. It is unclear what conversations the agent is

referring to, as there were many conversations between the undercover agents and




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Maddox.3      It is further unclear what the agent means by “content” of the

conversations, which could refer to anything from specific statements, to the general

subject matter discussed. In the context of an FBI interview, it is reasonable to

assume the agents are asking for specific or even firsthand knowledge. And it is

unclear whether “what did they want from Maddox” referred to Burnette’s

knowledge of Southern Pines’ general business interests, specific requests made to

Maddox, or just a request to speculate.

       For the same reasons, his statement that he did not know the “content” of

myriad conversations to which he was not a witness could not have been material to

the investigation.

       E.     Burnette Did Not Know That Southern Pines Development
              Representatives Had Paid Maddox

       Judgment of acquittal should be granted based on the fifth alleged false

statement. The relevant colloquy with the FBI agent was as follows:

              SA DOYLE: Do you know did they pay Maddox?
              BURNETTE: No. Well, let me say this. I don’t know
              who they paid. I never saw them pay anybody.



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  For example, Burnette was not present when Miller was introduced to Maddox on October 1,
2016 at an FSU football game, when Miller met Maddox for brunch the following day on October
2, 2016, when Sweets was introduced to Maddox at Madison Social on October 4, 2016, when
Sweets met Maddox at an FSU football game on October 29, 2016, and when Sweets met Maddox
at Old School and an FSU football game on November 11, 2016, among other conversations.
Miller and Sweets confirmed that Burnette was not present for these meetings when they testified
at trial. Trial. Tr. vol. 7, 1413:8-1414:12, July 21, 2021; Trial Tr. vol. 9, 1752:7-13, 1775:21-
1776:2, 1779:22-25, July 23, 2021.


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            SA DOYLE: Did they -- do you know if they gave him
            any gifts, and by that I mean money, tangible property,
            trips, anything like that to any public officials?
            BURNETTE: Uh, the only trip we went on, we went on --
            we went -- we did go on a Vegas trip with them one time.

Gov. Ex. 86, at 9-10.

      First, it is fundamentally ambiguous what the agent meant by “pay Maddox.”

The agent could refer to payments made directly to Maddox, indirect payments,

promised future payments, or in-kind contributions such as leisure travel. For

example, the facts of the case show that Southern Pines Development never paid

Maddox – it paid Governance, Inc. and Governance Services, LLC. In the context

of the conversation, in which Burnette had repeatedly stated that he did not know

the specifics of payment arrangements – to whom the checks were written, etc. – a

reasonable person could conclude that the question asked about payments directly

from the undercover agents to Maddox.

      Indeed, the ambiguity of the question is confirmed by the agent immediately

asking a follow-up question in an attempt to clarify. After Burnette states, “No. …

I don’t know who they paid. I never saw them pay anybody,” the agent asks whether

“they [the undercover agents] gave [Maddox] any gifts, and by that I mean money,

tangible property, trips, anything like that.” Gov. Ex. 86, at 9. That clarification

again emphasized transfer of valuables directly from the agents to Maddox. Upon

that clarification, Burnette truthfully answered that the only direct payment of any



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form to Maddox that he was aware of was the trip to Las Vegas. Id. at 9-10. That

follow-up exchange confirms the ambiguity of the prior question, Burnette’s

truthfulness, and the value of agents asking follow-up questions.

      Burnette’s answer was also truthful, because he did not know who, exactly

had been paid, and because he clarified the exact basis for his statement—that he

never saw any payments to Maddox. This was true. The evidence showed that

Southern Pines never paid Maddox directly. Trial Tr. vol. 13, 2648:20-2649:6,

August 9, 2021; Trial. Tr. vol. 10, 1977:21-24, July 21, 2021. Burnette’s statement,

“No. Well, let me say this. I don’t know who they paid. I never saw them pay

anybody,” was truthful, and at most unresponsive to the question asked by the agent.

Burnette did not knowingly and willfully provide a false statement, and any false

statement could not have been material.

                                 CONCLUSION

      Based on the foregoing, Burnette respectfully requests that this Court enter a

Judgment of Acquittal on Counts Two, Fix, Six, Eight, and Nine of the Second

Superseding Indictment.


Dated: September 13, 2021                  Respectfully submitted,

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                        LOCAL RULE 7.1(F) CERTIFICATE

      I certify that this paper contains 6818 words, per Microsoft Word’s word

count, which complies with the word limit requirements set forth in Local Rule

7.1(F).

                                             /s/ Gregory W. Kehoe
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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of this document has been served to counsel

for the United States of America via email to their addresses of record on this 13th

day of September, 2021.

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